Case 1:18-Cv-00058-LTS Document 3

JS 44C/SDNY ‘ §§ §téj§j C|V|L COVER SH ET §

REv. 05/01/17 §§ v 1 ‘ 353 t 2
The J§44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court This lorm, approved by the Judicial Conterence of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet

 

 
          

        

 

PLAlNTlFFS DEFENDANTS

Guggenheim Partners, LLC et a|.
(see attached Rider A for complete list of defendants)

ATTORNEYS (|F KNOWN)

Marcos l_opez de Prado

tlAN 0 3 2018

ATTORNEYS (FlRll/| NAi\/IE, ADDRESS, AND TELEPHONE NUl\/lBER
Yoav l\ll. Griver o/o Zeichner E||man 81 Krause LLP

1211 Avenue of the Americas, 40th Floor, NY NY 10036

Te|: (212) 223-0400

CAUSE OF ACTION (CITE THE U.S. ClVlL STATUTE UNDER WHlCH YOU ARE F|LlNG AND WRlTE A BRlEF STATEMENT OF CAUSE)
(DO NOT CITE JUR|SD|CT|ONAL STATUTES UNLESS DlVERSlTY)

Wrongful Retaliation in violation of the Dodd~Frank Act of 2010, 15 U.S.C. 78U-6

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? NO-Yes [:]

lt yes, Was this case Vol.[:l lnvol. |j Dismissed. No |:} Yes |:] |f yes, give date 81 Case No.
ls THis ANiNTERNATioNALARBiTRArioN cAsEz No Yes [:l
(PLACE AN [x] //v o/\/E BOX ONLY) NATURE OF SUlT

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Case 1:18-Cv-00058-LTS Document 3 Filed 01/05/18 Page 2 of 3

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OF BUS|NESS lN THlS STATE

PLA|NT|FF(S) ADDRESS(ES) AND COUNTY(|ES)

l\/larcos Lopez de Prado
9 Rolling Hills Lane
Harrison, NY 10528

DEFENDANT(s) ADDRESS(ES> AND couNTY(iEs)
Guggenheim Partners, LLC
330 l\/ladison Avenue

New York, NY 1-0017
(see attached Rider B for a complete list of defendants' addresses)

DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTAT|ON lS HEREBY MADE THAT, AT THlS Tll\/IE, l HAVE BEEN UNABLE, VV|TH REASONABLE DlLlGENCE, TO ASCERTAlN
THE RES|DENCE ADDRESSES OF THE FOLLOWING DEFENDANTSZ

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

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l\/lagistrate Judge is to be designated by the Clerk of the Court.

 

l\/lagistrate Judge MAG 111 1111'3§1:; EDE§=~§ n § ,, is so Designated.
’- - 115..1;1\717~\1\§
Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

 

UN|TED STATES DlSTR|CT COURT (NEW YORK SOUTHERN)

Case 1:18-Cv-00058-LTS Document 3 Filed 01/05/18 Page 3 of 3

RIDER A -- List of All Defendants

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MARCOS LOPEZ DE PRADO Case No.
Plaintiff,
against -

GUGGENHEIM PARTNERS, LLC', GUGGENHEIM
INSURANCE SERVICES, LLC; GUGGENHEIM
LIFE AND ANNUITY COMPANY; GUGGENHEIM
INVESTMENT ADVISORS, LLC; DELAWARE LIFE
INSURANCE COMPANY; DANIEL TOWRISS;
DAVID TOWRISS; DALE UTHOFF; RYAN CLOUD;
ERIN KING; MICHAEL BLOOM; l\/HCHAEL
MGRAN; KEVIN M. RGBINSON; DAVID L.
KORMAN; and ROBERT A. SAPERSTEIN,

Defendants.

 

 

RIDER B -- Defendants’ Addresses

 

Guggenheim Partners, LLC David Towriss

Guggenheim lnsurance Services, LLC c/o Aureum Re
Guggenheint Life and Annuity Company 94 Solaris Avenue, 31‘d floor
Guggenheim lnvestment Advisors, LLC Camana Bay

Daniel Towriss George Town KYl -9006
Dale Uthoff Cayman lslands

Ryan Cloud

Ei'in King

Kevin l\/I. Robinson
David L. Korman
Robel‘t A. Sap€rstein

c/o Guggenheim Partners
330 l\/laclison Avenue
New York, NY l0017

 

 

Delaware Life lnsurance Company
l\/Iichael Bloom
l\/[ichael l\/Ioran

c/o Delaware Life Insurance Company
1601 Trapelo Road, Suite 30
Waltham, MA 0245

 

 

 

